                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  CYNTHIA B. SCOTT, et al.,             )
                                        )
                        Plaintiffs,     )
                                        )      Case No. 3:12-cv-00036-NKM
         v.                             )      Sr. Judge Norman K. Moon
                                        )
  HAROLD W. CLARKE, et al.,             )
                                        )
                        Defendants.     )
                                        )

                PLAINTIFFS’ MOTION FOR ORDER TO SHOW CAUSE
               WHY DEFENDANTS SHOULD NOT BE HELD IN CONTEMPT

         Plaintiffs Cynthia B. Scott, et al., by their attorneys, hereby respectfully move this Court

  for the entry of an Order requiring Defendants Harold W. Clarke, et al., to show cause as to why

  the Defendants should not be held in civil contempt for their continuing and pervasive failure to

  meet the obligations they assumed vis-a-vis the provision of medical care at the Fluvanna

  Correctional Center for Women that meets or exceeds applicable standards under the Eighth

  Amendment to the Constitution of the United States, as embodied in the parties’ Settlement

  Agreement dated September 15, 2015, and approved by this Court by Consent Judgment entered

  February 5, 2016.

         As demonstrated more fully in the Plaintiffs’ Memorandum of Law filed in support

  hereof, in the sixteen-month time period during which the standards imposed by the Settlement

  Agreement have been in effect, the Defendants have repeatedly fallen short of the obligations

  this Court ordered them to undertake to significantly improve both the quantity and the quality of

  the medical care to which the class members residing at FCCW are constitutionally entitled. As

  a result, pursuant to the enforcement mechanism embodied in Section V.2. of the Settlement




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  Agreement, the Plaintiffs merit relief from this Court in the form of sanctions against the

  Defendants for civil contempt for violation of the Consent Judgment.

         For these reasons, the instant Motion should be granted.

         As the Defendants are expected to dispute the existence of any noncompliance, as well as

  its character and magnitude, the Plaintiffs request an evidentiary hearing on these matters.



  DATED:         September 6, 2017
                                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of September, 2017, a true and correct copy of

  Plaintiffs’ Motion For Order to Show Cause Why Defendants Should Not be Held in Contempt

  was served electronically upon the following:

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